 

Case 1:17-CV-1`1149`-|\/|LW DoC'u"r`ne`n`t 20-4 Filed 10/26/18 Page 1 of 1

cHAs-EQ

'341`5 vision naive pam-214

 

 

_Taii treas 2014 For;m tw§§anse£§on :ot m `

-‘E'fzts is ti'_smci_rtant tax inmattsn and is being tdmish_ed to the
.k.ste`rnsl marine ssi`vioe. lt you are required to file a tatumm

 

 

 

 

 

 

 

 

 

 

 

 

 

G`ULU.MBL|$ O`H 43219~=6`609 negit§ence penatty o_s_ other sandion maybe imposed on you it
taxable isimms sssii`|ts from this fsaitse¢tion and the iR§
determines that it has not been reposted.
nevist information . , _
` diane ms iz_i'z_s-is'- sense sodomy §
llisti_‘-“.iiii**ii“**f*!"**.ii]ii"ltii'*¥i`i"ii“iviii:.t‘#i-iiiii'ii`l Giediter'. s` information s . §§
- _` _ ' -. Feooraiioiion-oor '-\* ,W§
§§§RM§§§§§SHML someone sense assist ii ._A '-"‘"“'§
citations MA 02021 HGME LEND#NG _ _ §
_ _ _ 4
H ,,
-.~=aoa
saint wsp-c citations _ §
Phons -Soppoit-; 't~BTTr_BB§_'-BMG m '
nemor's_iotlmi;beri MXGGBZ original
§Siimmary cit `Foi_'m 109§~€_`-Can¢¢t!tation-of-Dett`t:_ mw W_ _ _ {QMB No. 1545-1424§
Box l)est:riptron ` ` Amot.`ln`t Box Description ' ' Nttoii'itt
T Dats.of identifi&bto event _ 96123€2`0.14 5 -W_as limmer personally debts for repayment et the debt? `Y`ES
2. mount oiaai-zii_sohasged 51 ,ssi,ois`.§?` e, ioaa-ove event soap G_
_13.. interest miranda invest tom 7, amato vaia'ofpropooy esso
4 _ post sampson za'GttEEN st
omits oi'For;m=ioaa'_~c concession or moot _ guise No. tens-md
naomi cannon ` sex iii ` _ noia eaja ones estes '
Aoctsa¢`oipiion patent must sri-aaa int included
n identifiable event dimhayg_gi 'in-;iiox'£` _ _
i*_ ' " ` _ team _ _ 4 staats-si- a>i)'o st sss mann ' M*EE"‘ S"-"
#5 if ym, the debtor weak personalty tiabie for repayment
arise post ' itt
o

 

ns inapposite poem-soon

P=ev 1.-

 

